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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA



FEDERAL TRADE COMMISSION,

                      Plaintiff,
                                        Civil Action No. 1:20−cv−03590 (JEB)
                v.

META PLATFORMS, INC.

                      Defendant.




           PLAINTIFF FEDERAL TRADE COMMISSION’S STATEMENT IN
        OPPOSITION TO NONPARTY SEQUOIA CAPITAL’S MOTION TO QUASH
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         Sequoia Capital (“Sequoia”), the only venture capital firm that invested in both Instagram

and WhatsApp, seeks to quash deposition subpoenas issued to two individuals with personal

knowledge of separate and distinct issues relevant to the FTC’s claims and Meta’s defenses. The

FTC seeks to depose Mr. Roelof Botha, who currently heads Sequoia and was the lead investor

in Instagram’s Series B funding – an investment that valued Instagram at $500 million a few

days before Facebook acquired Instagram for twice that sum. In addition, the FTC seeks to

depose Mr. Jim Goetz, a former member of WhatsApp’s board of directors and a retired Sequoia

partner, who led at least three rounds of investment in WhatsApp and helped negotiate

WhatsApp’s eventual acquisition by Meta. The FTC respectfully asks this Court to reject

Sequoia’s bid to quash and to instruct that both depositions take place by the end of the year.

  I.     PROCEDURAL BACKGROUND

         The FTC served Sequoia Capital with a subpoena for documents on May 6, 2022. To

limit burden, the FTC made highly targeted requests and in response Sequoia produced eighteen

documents. These documents, which include internal analyses, confirm that Messrs. Botha and

Goetz were deeply involved in valuing and assessing Instagram and WhatsApp during the

relevant time period. Given their personal involvement, the FTC served Mr. Botha and Mr.

Goetz with deposition subpoenas on October 18, 2022. The FTC discussed the subpoenas with

Sequoia’s counsel on October 7 and 17 (prior to service), and on October 25, 27, and 28. In

these discussions, the FTC made clear that it is willing to minimize any burden on Messrs. Botha

and Goetz by limiting the FTC’s time and by conducting remote depositions. The FTC further

asked whether it could offer any additional accommodations that might obviate the need for a

dispute. Sequoia’s counsel declined to engage further and instead raised this dispute with the

Court.



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 II.   MR. BOTHA’S AND MR. GOETZ’S TESTIMONY IS PLAINLY RELEVANT

       The FTC may obtain discovery on any issue that “is relevant to any party’s claim or

defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). If the subpoenaing

party shows its requests are relevant, then the subpoenaed party must demonstrate a “clearly

defined and serious injury” to support a claim of undue burden. In re Domestic Drywall

Antitrust Litig., 300 F.R.D. 234, 239 (E.D. Pa. 2014). A court then “balance[s] the interests

served by demanding compliance with the subpoena against the interests furthered by quashing

it.” Dell Inc. v. DeCosta, 233 F. Supp. 3d 1, 3 (D.D.C. 2017).

       Mr. Botha heads Sequoia, a venture capital firm headquartered a few miles from Meta’s

Menlo Park headquarters. In 2012, Mr. Botha, then a partner at Sequoia, drafted investment

memoranda presenting Sequoia’s analysis of Instagram and other applications. According to

documents produced by Sequoia, Mr. Botha participated directly in this analysis and valuation of

Instagram and thus likely has personal knowledge relevant to the FTC’s claims. For instance,

Sequoia’s website lists Mr. Botha as the only partner involved in the Instagram investment, and

states that Sequoia invested in Instagram because:

       In 2012, smartphones were fast supplanting cameras as the primary way to capture
       photos. But sharing photos was difficult . . . [Instagram] offered a fast, beautiful
       and fun way to share your life with friends. That combined with rapid user growth
       and engagement led us to believe Instagram had the potential to build a powerful
       social graph to rival those that already existed.

Sequoia Capital, “Instagram,” https://www.sequoiacap.com/companies/instagram/.

       Mr. Goetz, now retired, similarly has personal knowledge regarding WhatsApp prior to

its acquisition by Meta. The FTC understands Sequoia was the only outside venture capital firm

to invest in WhatsApp prior to February 2014, the month Meta announced it would acquire

WhatsApp. Mr. Goetz led each of Sequoia’s investments in WhatsApp, he was a member of



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WhatsApp’s board, and he helped negotiate WhatsApp’s eventual acquisition. In his own words,

Mr. Goetz worked “shoulder-to-shoulder” with WhatsApp’s founders “as their close business

partner and investor.” See Jim Goetz, “Four Numbers that Explain Why Facebook Acquired

WhatsApp,” Sequoia Capital (Feb. 19, 2014), https://sequoiacapital.tumblr.com/post

/77211282835/four-numbers-that-explain-why-facebook-acquired.

       Mr. Botha’s and Mr. Goetz’s personal involvement in and knowledge of Instagram and

WhatsApp respectively prior to Meta acquiring both companies are plainly relevant to the FTC’s

claims that Meta acquired Instagram and WhatsApp to eliminate competitive threats that

emerged during the shift from desktop to mobile. See, e.g., Substitute Amended Complaint, ECF

No. 82 ¶¶ 53-56, 62, 80-84, 88-89, 107-21.

III.   THE FTC’S PROPOSED DEPOSITIONS INVOLVE MINIMAL BURDEN

       The FTC’s proposed depositions will impose limited actual burden on Mr. Botha, Mr.

Goetz, and Sequoia. The FTC has proposed remote depositions to eliminate the burden of travel

for both witnesses and counsel. Moreover, the FTC has offered to limit its time, and is willing to

negotiate any reasonable dates this year that will accommodate the witnesses’ schedules.

Sequoia has rejected these proposals: it simply objects to Messrs. Botha and Goetz sitting for any

deposition. According to Sequoia, no conditions can sufficiently accommodate Mr. Botha’s

schedule. Mr. Goetz, according to counsel, is retired and Sequoia has not specified what serious

injury he would incur from a deposition.

       A witness’s busy schedule cannot entirely exempt them from complying with a

deposition subpoena, particularly when they are likely to possess highly relevant information.

The FTC respectfully asks this Court to reject Sequoia’s motion to quash and that this Court

instruct Mr. Botha and Mr. Goetz to appear for a deposition before the end of the year.



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Dated: November 7, 2022                  Respectfully submitted,



                                         By: /s/ Daniel Matheson
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on November 7, 2022, I electronically transmitted the foregoing

document to the Clerk’s Office using the CM/ECF system.



                                                    /s/ Daniel Matheson
                                                    Daniel Matheson (D.C. Bar 502490)
